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UNITED STATES DISTRICT COURT                                                                ! ·,:y
SOUTHERN DISTRICT OF NEW YORK
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OFF-WHITE LLC,
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                  Plaintiff,

        -v-                                                   No. 20-CV-7892 LTS

ANOGAR-32, et al.,

                  Defendants.

-------------------------------------------------------x

OFF-WHITE LLC,

                  Plaintiff,

         -v-                                                  No. 20-CV-7894 LTS

BEIJING YINYU TRADING CO., LTD, et
al.,

                  Defendants.

-------------------------------------------------------x
                                                 SEALED ORDER


                  The Court has scheduled a telephonic hearing in the above-captioned matter for

Tuesday, September 29, 2020, at 4:00 p.m. The hearing will address Plaintiffs recently filed

motions for temporary restraining order. To access the call, participants must dial in to 888-363-

4 734, enter the access code 1527005#, and the security code I 065#. During the call, participants

are directed to observe the following rules:

         1.       Use a landline whenever possible.

         2.       Use a handset rather than a speakerphone.

         3.       All callers in to the line must identify themselves if asked to.




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       4.       Identify yourself each time you speak.

       5.        Mute when you are not speaking to eliminate background noise.

       6.        Spell proper names.

                 Persons granted remote access to proceedings are reminded of the general

prohibition against photographing, recording, and rebroadcasting of court

proceedings. Violation of these prohibitions may result in sanctions, including removal of court

issued media credentials, restricted entry to future hearings, denial of entry to future hearings, or

any other sanctions deemed necessary by the court.

                 The Court will file this order under temporary seal for substantially the reasons

set forth in the declarations of Danielle S. Yamali and Virgil Abloh.


       SO ORDERED.

Dated: New York, New York
       September 29, 2020



                                                               Isl Laura Taylor Swain
                                                               LAURA TAYLOR SWAIN
                                                               United States District Judge




OFF-WHITE    LLC - SEALED ORD   SCHD TELE HR'G.D0CX   VERSION SEPTEMBER   28, 2020                      2
